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 1   POLSINELLI LLP
     MICHAEL P. CUTLER (SBN 270663)
 2   2049 Century Park East, Suite 2300
     Los Angeles, CA 90067
 3   Telephone: (310) 556-1801
     Facsimile: (310) 556-1802
 4   Email: mcutler@polsinelli.com

 5   Attorneys for Defendant
     Mortgage Lenders of America, LLC
 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                          OAKLAND DIVISION
10
     ALFREDO LEON OREA,                                  Case No. 13-3913
11
                                   Plaintiff,            DEFENDANT’S NOTICE OF
12                                                       REMOVAL
              v.
13                                                       Dept:
     MORTGAGE LENDERS OF AMERICA,
14   LLC,
15                                 Defendant.
16

17
              COMES NOW Defendant Mortgage Lenders of America, L.L.C. (“Defendant”), by and
18
     through its counsel of record, and hereby removes the above-styled case from the Superior Court
19
     of Contra Costa County, California, at Martinez, to the United States District Court for the
20
     Northern District of California, at Oakland, pursuant to 29 U.S.C. §§ 201, et seq., 28 U.S.C. §
21
     1331 and 28 U.S.C. §§ 1441, 1446. As grounds for removal, Defendant states as follows:
22
                                     STATEMENT OF THE CASE
23
              1.    Plaintiff Alfredo Leon Orea (“Plaintiff”) filed his Complaint against Defendant on
24
     July 10, 2013, in the Superior Court of Contra Costa County, California, styled Alfredo Leon
25
     Orea v. Mortgage Lenders of America, LLC, Case No. C 13-01484 (the “State Court Action”).
26
              2.    The Complaint and Summons were served on Defendant on July 25, 2013.
27

28

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 1             3.    Plaintiff seeks to recover actual damages, punitive damages, and attorney’s fees in

 2   this action for alleged violations of the Fair Credit Report Act, 15 U.S.C. § 1681 et seq., as

 3   amended.

 4                           REMOVAL BASED ON FEDERAL QUESTION

 5             4.    This case is a civil action over which this Court has jurisdiction pursuant to the

 6   provisions of 28 U.S.C. § 1331, and is one that may be removed to this Court by Defendant

 7   pursuant to the provisions of 28 U.S.C. § 1441.

 8             5.    This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1331, in

 9   that this is a civil action arising under the Constitution, laws or treaties of the United States;

10   specifically 15 U.S.C. § 1681 et seq., otherwise known as the Fair Credit Reporting Act

11   (“FCRA”), as follows:

12             (a)   Plaintiff’s Complaint, on its face, alleges a violation of the FCRA. (See Plaintiff’s

13   Complaint).

14             (b)   The FCRA, pursuant to 15 U.S.C. § 1681p, provides that any action alleging a

15   violation of its provisions “may be brought in any appropriate United States district court without

16   regard to the amount in controversy . . .”

17                                    TIMELINESS OF REMOVAL

18             6.    This Notice of Removal is timely filed within thirty (30) days after service and

19   receipt by Defendant of the Complaint and Summons, in compliance with 28 U.S.C. § 1446(b).

20   Neither Defendant nor its attorneys have made any appearance in the State Court Action. No

21   further proceedings have occurred in this action, and the Complaint, Summons, Civil Case Cover

22   Sheet and Notice of Case Management Conference constitute the only process, pleadings or

23   papers served in this action.

24                         ATTACHMENT OF STATE COURT PLEADINGS

25             7.    A copy of the Complaint, Summons, Civil Case Cover Sheet and Notice of Case

26   Management Conference are attached hereto collectively as Exhibit A and incorporated herein by

27   reference.

28   ///
                                                        2
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 1                         NOTICE OF REMOVAL GIVEN TO STATE COURT

 2            8.       Pursuant to 28 U.S.C. § 1446(d), a Notice of Filing of Notice of Removal is being

 3   filed with the Superior Court of Contra Costa County, California, on the date of this filing.

 4            WHEREFORE, Defendant Mortgage Lenders of America, L.L.C., removes this action to

 5   the United States District Court for the Northern District of California, at Oakland, and requests

 6   that no further proceedings be had in the Superior Court of Contra Costa County, California.

 7   Dated:       August 23, 2013                            POLSINELLI LLP
 8

 9                                                     By:   /s/ Michael P. Cutler
                                                             Michael P. Cutler (State Bar No. 270663)
10                                                           2049 Century Park East, Suite 2300
                                                             Los Angeles, California 90067
11                                                           Telephone: (310) 556-1801
                                                             Facsimile: (310) 556-1802
12
                                                             Attorneys for Defendant
13                                                           Mortgage Lenders of America
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         EXHIBIT A
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                       EXHIBIT A PAGE 000012
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 1                                        PROOF OF SERVICE

 2          I am over the age of 18 and not a party to the within action; I am employed by
     POLSINELLI LLP in the County of Los Angeles, California at 2049 Century Park East, Suite
 3   2300, Los Angeles, California 90067.
 4
            On August 23, 2013, I served the foregoing document(s) described as: DEFENDANTS
 5   NOTICE OF FILING NOTICE OF REMOVAL on the interested parties in this action by
     placing the true copies thereof enclosed in sealed envelopes addressed as follows:
 6
              Todd M. Friedman, Esq.
 7            Nicholas J. Bontrager, Esq.
 8            Suren N. Weerasuriya, Esq.
              Law Offices of Todd M. Friedman, P.C.
 9            369 S. Doheny Drive, Suite 415
              Beverly Hills, CA 90211
10
         [X] By United States Mail: I enclosed the documents in a sealed envelope or package
11       addressed to the person listed above at the addresses listed above and placed the envelope for
12       collection and mailing, following our ordinary business practices. I am readily familiar with
         this business’s practice for collecting and processing correspondence for mailing. On the
13       same day that correspondence is placed for collection and mailing, it is deposited in the
         ordinary course of business with the United States Postal Service, in a sealed envelope with
14       postage fully prepaid.
15       [ ] By Overnight Delivery: I placed said document(s) in an envelope or package for
         collection and delivery by an overnight courier authorized to receive said documents. I am
16       readily familiar with the firm’ s practices for collection and processing of documents for
         overnight delivery, and said envelope or package will be deposited for receipt and business
17       day delivery.
18       [ ] By personal service: I personally delivered the envelope or package to the persons at the
         address listed at the attorney’s office by leaving the documents in an envelope or package,
19       which was clearly labeled to identify the attorney being served, with a receptionist or an
20       individual in charge of the office.
         [ ] By facsimile transmission: Based on an agreement of the parties to accept service by fax
21       transmission, I faxed the documents to the persons at the fax numbers listed above. No error
22       was report by the fax machine that I used. A copy of the report of the fax transmission, which
         I printed out, is attached.
23    [X] (Federal) I declare under penalty of perjury under the laws of the State of California and
     under the laws of the United States of America that the above is true and correct.
24

25   Executed on August 23, 2013, at Los Angeles, California.

26
                                                         ___/s/ Teri Carson_________________
27                                                       Teri Carson
28

                                    DEFENDANT’S NOTICE OF REMOVAL
     45997982.1
